          Case 4:20-cv-01471-JM Document 7 Filed 01/25/21 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               CENTRAL DIVISION

PHYLLIS ROBERTS                                                                PLAINTIFF

v.                              Case No. 4:20-cv-01471-JM

KROGER                                                                        DEFENDANT

                                       JUDGMENT

       Consistent with the Order that was entered on this day, it is considered, ordered, and

adjudged that this case is hereby DISMISSED without prejudice.

       IT IS SO ORDERED this 25th day of January, 2021.



                                                  _______________________________
                                                  UNITED STATES DISTRICT JUDGE
